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                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

THE WOODLANDS PRIDE, INC., et al.,                            §
                                                              §
        Plaintiffs,                                           §
                                                              §         Civil No. 4:23-cv-02847
v.                                                            §
                                                              §
ANGELA COLMENERO, IN AN OFFICIAL                              §
CAPACITY AS INTERIM ATTORNEY                                  §
GENERAL OF TEXAS, et al.,                                     §
                                                              §
        Defendants.                                           §


              DEFENDANTS TAYLOR COUNTY, TEXAS AND JAMES HICKS’
                     NOTICE OF APPEARANCE OF ATTORNEY

TO THE HONORABLE COURT:

        Defendants, Taylor County, Texas and James Hicks, in his official capacity as District

Attorney of Taylor County, file this Notice of Appearance of Attorney for McMahon Surovik

Suttle, P.C. and shows as follows:

        Robert B. Wagstaff of the firm of McMahon Surovik Suttle, P.C. hereby makes an

appearance in this case on behalf of Defendants Taylor County, Texas and James Hicks, in his

official capacity as District Attorney of Taylor County, and requests that all pleadings, notices,

and other communications in this case be sent to his attention hereafter.




_____________________________________________________________________
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NOTICE OF APPEARANCE OF ATTORNEY
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                                                              Respectfully submitted,


                                                              BY: /s/ Robert B. Wagstaff
                                                                     Robert B. Wagstaff
                                                                     Attorney-in-Charge
                                                                     State Bar No. 20665000
                                                                     SDTX Bar No. 13115
                                                                     rwagstaff@mcmahonlawtx.com

                                                              MCMAHON SUROVIK SUTTLE, P.C.
                                                              P. O. Box 3679
                                                              Abilene, TX 79604
                                                              (325) 676-9183 Telephone
                                                              (325) 676-8836 Fax

                                                              ATTORNEYS FOR TAYLOR COUNTY,
                                                              TEXAS and JAMES HICKS


                                      CERTIFICATE OF SERVICE

        This is to certify that a true copy of the above and foregoing instrument was filed

electronically with the Court’s electronic filing system on this 22nd day of August, 2023, in

accordance with the Federal Rules of Civil Procedure and LR5.3 of the Southern District of Texas.


                                                               /s/ Robert B. Wagstaff
                                                              Robert B. Wagstaff




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NOTICE OF APPEARANCE OF ATTORNEY
